     Case 4:06-cr-00346-YGR    Document 61     Filed 07/17/06                     Page 1 of 1



 1                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 2                            SAN FRANCISCO DIVISION

 3

 4    UNITED STATES OF AMERICA

 5                Plaintiff,                                   NO. CR 06-00346 DLJ

 6           v.                                                STIPULATION AND
                                                               TRAVEL ORDER
 7    BRENT TAGESON, et al.,

 8                Defendants.                   /

 9           THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree that

10    defendant Brent Tageson may travel outside the Northern District

11    of California, from August 4, 2006 through August 6, 2006, to

12    Las Vegas, Nevada.      Brent Tageson has provided Pretrial Services

13    with his travel itinerary, including, his flight information and

14    the hotel where he will be staying.

15           Pretrial Services Officer Paul Mamaril advised that Brent

16    Tageson is in full compliance with his conditions of release and

17    he has no objection to the requested travel plans, under the

18    conditions proposed herein.

19

20    /S/JAMES BUSTAMANTE                     /S/GEORGE BEVAN
      JAMES BUSTAMANTE                        GEORGE BEVAN
21    Attorney for Defendant TAGESON          Assistant U.S. Attorney
      Dated: July 14, 2006                    Dated: July 14, 2006
22                                                         S DISTRICT
                                                        ATE           C
                                                       T
                                                                                 O
                                                  S




23
                                                                                  U
                                                 ED




                                                                                   RT




                                                                              ED
                                                                   ORDER
                                             UNIT




                                                              O
24                                                    IT IS S
                                                                                          R NIA




                                                                             Brazil
25                                                                 ayne D.
                                             NO




                                                           Judge W
                                                                                          FO
                                              RT




                                                                                      LI




26           IT IS SO ORDERED.                        ER
                                                 H




                                                                                  A




                                                           N                          C
                                                                                 F
                                                               D IS T IC T O
27           Dated: July 17, 2006                                    R
                                              WAYNE D. BRAZIL
28                                            U.S. Magistrate Judge
